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5

6    Attorneys for Plaintiff
     United States of America
7
                                   IN THE UNITED STATES DISTRICT COURT
8
                                        EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,                             CASE NO. 1:17-CR-243-LJO-SKO
11
                                  Plaintiff,
12                                                         STIPULATION AND ORDER TO CONTINUE
                            v.                             STATUS CONFERENCE
13
     JOHN ALAN BALLARD ET AL.
14
                                  Defendants.
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16
                                                  BACKGROUND
17
            This matter is currently scheduled for a status conference on June 4, 2018. However, all counsel
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     have conferred and have agreed that at the status conference they would each seek a further status
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     conference to be set on October 1, 2018. The parties anticipate that the October 2018 would be the
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     final status conference date before a potential trial setting or resolution of the matter. Therefore, all
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     parties request that the status conference be continued to October 1, 2018. Counsel agree that time
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     between the current date of the status conference and October 1 should be excluded under the Speedy
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     Trial Act for defense preparation and continuity of counsel.
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            A proposed order appears below.
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1                                         STIPULATION AND ORDER
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             IT IS HEREBY STIPULATED by and between the parties hereto, and through their respective
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     attorneys, that the status conference currently set for June 4, 2018 be continued to October 1, 2018. Time
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     shall be excluded from June 4, 2018 to October 1, 2018 under the Speedy Trial Act for defense preparation
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6    and continuity of counsel. The Court finds that the ends of justice outweigh the interest of the defendant and

7    the public in a speedy trial.

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9                                                                   Respectfully submitted,
10                                                                  MCGREGOR W. SCOTT
                                                                    United States Attorney
11
     DATED: June 1, 2018                                    By:     /s/ Michael G. Tierney _____ ______
12                                                                  Michael G. Tierney
                                                                    Assistant United States Attorney
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14
     DATED: June 11, 2018                                   By:     /s/ Mary Ann F. Bird____       ______
15                                                                  Mary Ann F. Bird
                                                                    Attorney for John Alan Ballard
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17   DATED: June 1, 2018                                    By:     /s/ Timothe Tuitavuki____     ______
                                                                    Timothe Tuitavuki
18                                                                  Attorney for Judy Irene Calderon
19
     DATED: June 1, 2018                                    By:     /s/ Martin Taleisnik__ ______        _
20                                                                  Martin Taleisnik
                                                                    Attorney for Sherry Lynn Herbert
21
     DATED: June 1, 2018                                    By:     /s/ Robert S. Wynne____       ______          _
22                                                                  Robert S. Wynne
                                                                    Attorney for Andrea Rachelle Todd
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1                                                    ORDER

2             The parties' request for a continuance of the status conference is DENIED as untimely.

3    Pursuant to the Eastern District of California (Fresno Division) Criminal Case Management Plan,
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     "[a]ll stipulated continuances must be filed through ECF by Thursday at noon prior to the Monday
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     hearing." The Court will consider an exception to the timeliness of the request only in the event that an
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     articulated circumstance occurred to prevent the parties from complying with the deadline, which has
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     not been established in this case.
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     IT IS SO ORDERED.
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11   Dated:     June 1, 2018                                     /s/   Sheila K. Oberto                .
                                                       UNITED STATES MAGISTRATE JUDGE
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